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 1
     QUINN EMANUEL URQUHART &                      FOLEY & LARDNER LLP
 2   SULLIVAN LLP
                                                   Lewis Zirogiannis (Bar No. 321955)
 3                                                  lzirogiannis@foley.com
     Morgan W. Tovey (Bar No. 136242)              Jaime Dorenbaum (Bar No. 289555)
      morgantovey@quinnemanuel.com
 4                                                  jdorenbaum@foley.com
     50 California Street, 22nd Floor              Jason Y. Wu (Bar No. 313368)
     San Francisco, California 94111-4788
 5                                                  jwu@foley.com
     Telephone: (415) 875-6600                     555 California Street, Suite 1700
     Facsimile: (415) 875-6700
 6                                                 San Francisco, CA 94104-1520
                                                   Telephone: (415) 434-4484
     Ryan Landes (Bar No. 252642)
 7                                                 Facsimile: (415) 434-4507
      ryanlandes@quinnemanuel.com
     Dakota S. Speas (Bar No. 323853)
 8                                                 Heather A. Lee (pro hac vice)
      dakotaspeas@quinnemanuel.com                  hlee@foley.com
     865 S. Figueroa St., 10th Floor
 9                                                 100 N Tampa Street, Suite 2700
     Los Angeles, California 90017-2543            Tampa, FL 33610
     Telephone: (213) 443-3000
10                                                 Telephone: (813) 225-4156
     Facsimile: (213) 443-3100                     Facsimile: (813) 221-4210
11   Attorneys for Plaintiff Nextdoor, Inc.        Attorneys for Defendants 420 Taylor
12                                                 Ventures, LLC, NT 420 Taylor Owner LLC,
                                                   NH 420 Taylor Owner LLC, 420 Taylor
13                                                 Holdings Owner LLC, and Seven Equity
                                                   Group, LLC
14

15                                UNITED STATES DISTRICT COURT

16               NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO DIVISION

17 NEXTDOOR, Inc.,                                Case No. 3:21-cv-03341-EMC

18                  Plaintiff,                    JOINT STATEMENT RE FURTHER
                                                  STATUS CONFERENCE
19         vs.
                                                  Date:    October 4, 2022
20 420 TAYLOR VENTURES, LLC, NT 420               Time:    2:30 p.m.
   TAYLOR OWNER LLC, NH 420 TAYLOR                Place:   Via Remote Videoconference
21 OWNER LLC, 420 TAYLOR HOLDINGS
   OWNER LLC, and SEVEN EQUITY                    The Hon. Edward M. Chen
22 GROUP, LLC,
                                                  Trial Date:          January 30, 2023
23                  Defendants.

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 1          Pursuant to Rule 16 of the Federal Rules of Civil Procedure, Northern District of

 2 California Local Rule 16-10(d), this Court’s Order to Continue Trial Date and to Enlarge Pretrial

 3 Deadlines (ECF 131), and the Clerk’s Notice Setting Zoom Hearing and Continuing Status

 4 Conference (ECF 133), Plaintiff Nextdoor, Inc. (“Plaintiff” or “Nextdoor”) and Defendants 420

 5 Taylor Ventures, LLC, NT 420 Taylor Owner LLC, NH 420 Taylor Owner LLC, 420 Taylor

 6 Holdings Owner LLC, and Seven Equity Group, LLC (“Defendants,” and together with Nextdoor,

 7 the “Parties”), by and through their respective counsel, hereby submit the following Joint

 8 Statement:

 9 I.       BACKGROUND

10          The allegations, claims, and defenses in this case have been extensively briefed and are

11 well-known to the Court. In the interests of brevity, the Parties dispense with a further recitation

12 here.

13 II.      SETTLEMENT

14          As the Parties previously informed the Court, the Parties reached a settlement in principle

15 on June 14, 2022 pursuant to the terms of a proposal prepared by Magistrate Judge Sallie Kim.

16 Since that date, the Parties have made progress toward a final resolution of both this case and a

17 related matter pending in the United States District Court for the Southern District of New York,

18 case no. 1:22-mc-00110-AT, regarding Defendants’ motion to quash a subpoena served by

19 Nextdoor on non-party Ackman Ziff Real Estate Group, LLC (the “Subpoena Matter”). The

20 Parties have circulated several rounds of edits to a proposed settlement agreement and amendment

21 to the lease agreement at issue in this case and have also held a number of calls between counsel to

22 discuss. Most recently, the Parties met and conferred telephonically on September 7 to discuss

23 proposed revisions to the settlement agreement and their respective positions, and the Parties

24 intend to have a further conference this week in an effort to resolve outstanding issues. The

25 Parties are hopeful that they will be able to finalize and execute final settlement documents on or

26 around October 7, either independently or, if Her Honor is available, with the further assistance of

27 Magistrate Judge Kim.

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 1 III.     SCHEDULING

 2          Given that the Parties have reached a settlement in principle and are actively working to

 3 finalize settlement, the Parties respectfully request that: (i) the case management conference

 4 currently scheduled for October 4, 2022 be continued for 30 days, or as soon thereafter as the

 5 Parties may be heard; and (ii), all other proceedings and deadlines in this case be stayed until the

 6 Parties execute a final settlement agreement and file a stipulation to dismiss this case with

 7 prejudice.

 8          Respectfully Submitted,

 9 DATED: September 27, 2022                     QUINN EMANUEL URQUHART & SULLIVAN,
                                                 LLP
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12                                                By          /s/ Morgan W. Tovey
                                                       MORGAN W. TOVEY
13                                                     Attorneys for Plaintiff Nextdoor, Inc.
14
     DATED: September 27, 2022                   FOLEY & LARDNER LLP
15

16

17                                                By          /s/ Lewis Zirogiannis
                                                       LEWIS ZIROGIANNIS
18                                                     Attorneys for Defendants 420 Taylor Ventures,
19                                                     LLC, NT 420 Taylor Owner LLC, NH 420 Taylor
                                                       Owner LLC, 420 Taylor Holdings Owner LLC,
20                                                     and Seven Equity Group, LLC

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 1                                            ATTESTATION

 2          I attest that all other signatories listed, and on whose behalf the filing is submitted, concur

 3 in the content of this filing and have authorized the filing.

 4
     Dated: September 27, 2022                     __/s/ Morgan W. Tovey_________
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